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FILED
CLERK, U.S. DISTRICT COURT

03/29/2021

CENTRAL DISTRICT OF CALIFORNIA
BY: DEPUTY

 

 

 

 

 

 

 
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Dated: March 29, 2021

 

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] MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION

No

Plaintiff seeks civil RICO remedies for alleged injuries arising from his
efforts to collect a $92 million judgment that accrues interest at $20,000 a day,
from a trust funded with $188 million, based on his alleged inability collect from
Egiazaryan’s assets that Russia attached for Plaintiff's benefit and from the trust,
as well as other funds alleged to have been placed beyond Plaintiff's reach.

Many of the alleged predicate acts and injuries occurred more than four

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years before the filing of the complaint, and thus any civil RICO claims would be
10 || barred by the applicable statute of limitations. For any predicate acts and injuries
11 || that might not be time-barred, Plaintiff lacks standing because he cannot show that
12 || he has in fact been injured, or that Egiazaryan has caused him any injury, given
13 || that his $130 million judgment grows $20,000 each day but remains secured by
14 || the attachment of property in Russia and the $188 million trust.

15 The complaint also fails to state a claim for relief given that the alleged
16 || predicate acts do not constitute “racketeering activity” under the any of the statutes
17 || used to define that term in RICO. Finally, the complaint fails to meet the pleading
18 || standards of Rule 8 and Rule 9. The complaint and the action should be dismissed.
19 || 1. ALLEGATIONS OF COMPLAINT

20 All descriptions of the complaint are made for the purposes of explaining
21 || why this action should be dismissed, and do not constitute agreement,
22 || disagreement, admission, or denial of any of the allegations of the complaint. The
23 || specific allegations are discussed below under the relevant ground for dismissal.
24 || I. THE ACTION SHOULD BE DISMISSED

25 A. Theclaims should be dismissed for any conduct occurring outside
26 the United States.
BT Given the presumption that civil RICO statutes do not have extraterritorial

28 || effect unless the predicate acts have extraterritorial effect, the complaint should be

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1 || dismissed with respect to all foreign injury claims. See RJR Nabisco, Inc. v.
2 || European Community, 136 S. Ct. 2090 (2016); City of Almaty v. Khrapunov, 956
3 || F.3 1129, 1131-34 (9th Cir. 2020). The complaint fails to allege a domestic injury
4 || with respect to the Alpha Trust. The gist of the complaint is that Egiazaryan placed
5 || the Kerimov Settlement payment in a Monaco bank account of a Nevis corporation
6 || owned by a Liechtenstein trust settled by Egiazaryan.
7 Plaintiff obtained a money judgment in Liechtenstein that Plaintiff alleges
8 || is secured by attachment of Egiazaryan’s rights in the trust as well as a Russian
9 || judgment that is secured by attachment of Egiazaryan’s rights in his property
10 || located in Russia. Plaintiff alleges that Egiazaryan and the other defendants have
11 || taken steps in Liechtenstein, Nevis, and Monaco to frustrate his ability to collect
12 || on the judgment from the trust assets. Notwithstanding that the complaint alleges
13 || that this overseas activity caused an injury to the California Judgment, it is the
14 || Liechtenstein judgment that is secured by the trust and which was allegedly
15 || injured. Thus, this does not state a claim for a domestic injury and should be
16 || dismissed.
17 The complaint alleges an injury to Plaintiff s California Judgment, but links
18 || that injury primarily to the Alpha Trust. There are a few references to other
19 || predicate acts, such as an alleged funneling of $17 million in London real estate
20 || sale proceeds to Egiazaryan’s cousin Suren and the payment of $20 million to
21 || Suren. As described below, these claims fail for other reasons.
22 B. The claims relating to placing the Kerimov settlement into a trust
23 should be dismissed.
24 a. These claims are barred by the applicable statute of limitations.
2 Civil RICO claims are subject to a four-year statute of limitations. The
26 || action accrues when the plaintiff has either actual or constructive notice of the
27 || injury, i.e., that plaintiff knows or should know of the injury. Pincay v. Andrews,
28 || 238 F.3d 1106, 1108 (9th Cir. 2001); Grimmett v. Brown, 75 F.3d 506, 610 (9th
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1 || Cir. 1996).
2 The complaint first seeks to recover “$90 million (plus legal interest)” ({j 4),
3 || which has already been reduced to judgments issued in this district (“California
4 || Judgment”) (4 28) and Liechtenstein (29) based on a November 11, 2014
5 || arbitration award (“London Award”) (§ 27). Plaintiff alleges that Defendants
6 || caused an injury to the California Judgment by acts that prevented and delayed
7 || Plaintiff from collecting on the judgment including the concealment and
8 || transferring away of assets that could be used to satisfy the judgment, giving rise
9 || to civil RICO claims ({§ 136, 143). On December 22, 2014, in this District,
10 || Plaintiff sought and obtained, based on an alleged “pattern and practice of
11 || concealing beneficial ownership of assets by holding them in the name of foreign
12 || nominee persons,” a temporary and preliminary injunctive freeze of the assets of
13 || Egiazaryan, “specifically and without limitation the amounts received or to be
14 || received by Respondent Yegiazaryan, his agents or any person or entity acting
15 || under his direction and control in payment or satisfaction of an arbitration award
16 || from Suleyman Kerimov” (“Kerimov Award”). ({{[ 41-45 (emphasis added).)
17 On February 9, 2016, Plaintiff learned of a settlement payment with respect
18 || to the Kerimov Award and an alleged “scheme to hide Ashot’s assets in the U.S.
19 || by using shell companies... .” (§ 58.) Fifteen days later, when obtaining the
20 || award-confirmation judgment in Liechtenstein, Plaintiff also obtained the
21 || attachment of Egiazaryan’s claims for distribution or repayment from the Alpha
22 || Trust (that indirectly hold the Kerimov settlement payment). ({| 29, Ex. 3.)
23 Smagin says that he “has been injured in his inability to collect this massive
24 || judgment and interest on the judgment; he has incurred millions of dollars in
25 || attorney’s fees litigating actions around the world against Mr. Egiazaryan, CMB
26 || and their nominees (including hundreds of thousands of dollars in fees for legal
27 || proceedings in the Central District of California).” ({ 5.) More particularly,
28 || Smagin says that he was injured by Egiazaryan’s receipt and allegedly improper
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1 || concealment of the $180 million recovery on the Kerimov Award that is held by
2 || the Alpha Trust and Savannah Advisors. (f] 1-5, 11-13, 15-17, 19-21, 30-31, 33-
3 || 34, 41-58, 62, 64-126, 129-131, 133-136, 140-143.)
4 Plaintiff, however, did not bring this action until more than four years after
5 || he was allegedly injured by how the Kerimov settlement payment was received
6 || and more than four years after he learned of this alleged injury. These claims are
7 || time barred. (Although overt acts occurring during the limitations period may give
8 || to a new RICO claims, damages may not be recovered or injuries sustained for
9 || acts occurring before the limitations period. Grimmett, 75 F.3d at 512.)
10 b. Plaintiff lacks standing because he fails to show any injury.
11 To show standing, Plaintiff must show that he sustained injury caused by
12 || Egiazaryan’s violation of § 1961. See 18 U.S.C. § 1964(c); Bridge v. Phoenix
13 || Bond & Indem. Co., 553 U.S. 639, 654 (2008). With respect to the California
14 || Judgment, Plaintiff would need to show that it is uncollectible in whole or part.
15 || According to the complaint, Egiazaryan placed $188 million in the Alpha Trust
16 || (433) and the Liechtenstein courts have attached Egiazaryan’s rights in the Alpha
17 || Trust and have authorized Plaintiff to seize and exercise rights in the trust ({f] 29-
18 || 31). Further, the Russian judgment for the same debt has attached to assets in
19 || Russian. (§ 53.) The complaint does not allege that the trust (or Russian collateral)
20 || is insufficient to satisfy Plaintiff's judgment (which has grown to $130 million
21 || (4 50)) and thus no injury to the judgment is alleged. Plaintiff lacks standing.
22 c. Plaintiff fails to show any loss.
23 For similar reasons, Plaintiff's fails to show any losses with respect to the
24 || California Judgment (including accruing interest and any legal expenses to which
25 || Plaintiff might be entitled) or with respect to the extensive property (i.e., cash)
26 || securing the judgment (1.e., that it has been doing down in value). Without loss or
27 || damage, there is no civil RICO claim. First Nationwide Bank v. Gelt Funding
28 || Corp., 27 F.3d 763, 768 (2d Cir. 1994) (loss cannot be established until defrauded
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1 || lender determines what is collectible and what is not).

 

 

2 The claim that the California Judgment was injured in the form of lost
3 || interest is belied by the 8% interest added each day, in the amount of $20,000.
4 The other components of alleged damages are too speculative and remote
5 |) under RICO. Plaintiffs are not entitled to lost opportunity costs such as speculative
6 || profits or the “loss of use or enjoyment” of cash. See id. at 769-70 (“risk of loss’
7 || is not injury under RICO); In re Taxable Mun. Bond Sec. Litig., 51 F.3d 518, 522
8 || (Sth Cir. 1995) (farmer’s “lost opportunity” to obtain loan insufficient to constitute
9 || RICO injury); Grantham & Mann, Inc. v. Am. Safety Prods., Inc., 831 F.2d 596,
10 || 604-06 (6th Cir. 1987) (plaintiff failed to show actual lost profits).
11 C. Claims for alleged predicate acts during the past four years also
12 should be dismissed.
13 a. The claims based on predicate acts during the past four years fail
14 to state a claim because the alleged amount of loss cannot be
15 established.
16 Plaintiff contends that Defendants have continued frustrate his efforts to

17 || collect his California Judgment. But the alleged amount of his loss, if any, cannot
18 || be established until it is determined whether the property subject to attachment for
19 || his judgment is sufficient to satisfy the judgment or to what extent it is not.
20 || Similarly, the other forms of relief requested---legal fees and costs---are similarly

21 || not subject to final determination. First Nationwide Bank, 27 F.3d at 768.

Ze b. The alleged conduct during the past four years does not constitute
23 predicate acts under RICO.
24 Plaintiff alleges that Egiazaryan and others obstructed justice in

25 || Liechtenstein and other non-U.S. courts in violation of RICO. (ff 2, 4, 10, 17-19,
26 || 31-32, 58, 69-72, 73-77, 79, 80-82, 83, 85-88, 89-97, 109-110, 111-113, 116, 117-
27 || 122, 126.) The statute governing obstruction for RICO purposes, however, does
28 || not apply to courts other than courts of the United States. Capasso v. CIGNA Ins.

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1 || Co., 765 F. Supp. 839, 843 (S.D.N.Y. 1991).

Plaintiff alleges that the initiation of actions in other jurisdictions by other
defendants constitutes predicate acts for his RICO claims. Malicious prosecution
is not a RICO predicate act. Id. at 843 n.2.

Plaintiff alleges that Egiazaryan and other defendants submitted false
documents to various courts. Perjury, like malicious prosecution, is not a predicate
act. Id. at 840 n.1.

Improper submissions to Courts of the United States are governed by their

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own rules, including Rule 11, 28 U.S.C. § 1927, and court’s inherent contempt

10 || powers. They are not predicate acts subject to civil RICO claims.

1] c. The mail fraud and wire fraud claims are not adequately pled with
12 particularity.
13 Rule 9(b) applies to civil RICO claims based on predicate acts of fraud.

14 || Edwards v. Marin Park, Inc., 356 F.3d 1068, 1066 (9th Cir. 2004). Fraud
15 || allegations based on “information and belief’ remain subject to Rule 9(b)’s
16 || particularity requirement and must set forth the source of the information and the
17 || facts on which the belief is founded. Neubronner v. Milken, 6 F3d 666, 672 (9th
18 || Cir. 1993); United States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d
19 || 220, 226 (1st Cir. 2004). Even the elements not subject to Rule 9(b)’s particularity

 

20 || requirement can require more factual detail when stating a more complex claim
21 || such as a civil RICO claim, to meet the standing of showing plausibility. See
22 || Eclectic Props. E., LLC v. Marcus & Millichap Co. 751 F3d 990, 997-98 (9th Cir.
23 || 2014).

24 The RICO statute requires a showing that the defendant participated in
25 || (1) the conduct of (2) an enterprise that affects interstate commerce (3) through a
26 || pattern (4) of racketeering activity. 18 U.S.C. § 1962(c).

27 Racketeering activity, the fourth element, requires predicate acts. Here,

28 || Plaintiff fails to adequately plead the requirements of mail fraud and wire fraud

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1 || under 18 U.S.C. §§ 1341 and 1343. Each predicate violation contains three
2 || elements: (1) the formation of a scheme to defraud, (2) the use of the mails or
3 || wires in furtherance of that scheme, and (3) the specific intent to defraud. As noted
4 || above, there must be a showing of harm and that the defendant’s conduct was the
5 || proximate cause of harm. In other words, that someone relied on the
6 || misrepresentation or fraudulent act. Bridge v. Phoenix Bond & Indem. Co... 553
7 || U.S. 639, 654 (2008).
8 Plaintiff uses “information and belief” at least 18 times in his complaint,
9 || and rarely does it provide the facts supporting the belief or the source of the
10 || information.
11 “On information and belief, [Suren] is being compensated by
12 Mr. Yegiazaryan to do these things for the criminal enterprise run by
13 Mr. Yegiazaryan.” ({ 8.)
14 “On information and belief, [Artem] is being compensated by
15 Mr. Yegiazaryan to do these things for the criminal enterprise run by
16 Mr. Yegiazaryan.” ({ 9.)
17 “On information and belief, [Stephan] is being compensated by
18 Mr. Yegiazaryan to do these things for the criminal enterprise run by
19 Mr. Yegiazaryan.” (§ 10.)
20 “On information and belief, [Vitaly Gogokhia] is being compensated
21 by Mr. Yegiazaryan to do these things for the criminal enterprise run by
22 Mr. Yegiazaryan.” ({ 11.)
23 “On information and belief, [Natalia Dozortseva] is being paid by
24 Mr. Yegiazaryan to do these things for the criminal syndicate run by
25 Mr. Yegiazaryan.” ({ 12.)
26 “But, on information and belief, under this false color of authority,
27 Ratnikov [Evgeny Nikolaevich] has colluded with Mr. Yegiazaryan, and
28 Ratnikov has attempted to intervene in Plaintiff's legal proceedings in the
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I United States, Liechtenstein and Monaco for the purpose of delaying
2 Plaintiff's enforcement efforts in each. On information and belief, he is
3 being paid by Mr. Yegiazaryan to do these things for the criminal syndicate
4 run by Mr. Yegiazaryan.” ({ 14.)
5 “On information and belief, Thielen is being paid by Mr. Yegiazaryan
6 to do these things for the criminal enterprise run by Mr. Yegiazaryan.”
7 (¥ 15.)
8 “On information and belief, CMB Bank is taking direction from and
9 being paid by Mr. Yegiazaryan to do these things for the criminal syndicate
10 run by Mr. Yegiazaryan, including, but not limited to Mr. Yegiazar[y]an
tH paying CMB Bank’s legal fees in the Monaco proceeding brought by
12 Plaintiff and the Alpha Trustees.” ({ 16.)
13 “On information and belief, Prestige is being paid by Mr. Yegiazaryan
14 to do these things for the criminal enterprise run by Mr. Yegiazaryan.”
15 (q 17.)
16 “On information and belief, Ryals is being paid by Mr. Yegiazaryan
17 to do these things for the criminal syndicate run by Mr. Yegiazaryan.” (§ 18.)
18 “Suren is the funding source for Mr. Yegiazaryan and his criminal
19 enterprise and on information and belief he funds Mr. Yegiazaryan in whole
20 or in part from this entity.” ({ 22.)
21 “On information and belief, all of Ashot Yegiazaryan’s, Suren
22 Yegiazaryan’s and Artem Yegiazaryan’s acts have been committed in and
23 for and/or directed from California.” ({] 24.)
24 “{O]n information and belief, CMB Bank was handsomely paid to join
25 the Mr. Yegiazaryan’s criminal enterprise as the “bag man,” to wit, the agent
26 that would hold collect and distribute the proceed of Mr. Yegiazaryan’s illicit
v8 scheme(s). ... On information and belief, Mr. Yegiazaryan stood at the
28 time, and stands to this day, as one of CMB Bank’s largest and most
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I profitable clients, accounting for approximately 20% of CMB Bank’s annual
2 holdings.” (4 54.)
3 “On information and belief, this letter was sent as a deliberate
4 falsehood and was sent as part of Mr. Yegiazaryan’s scheme to defraud the
5 court, delay the legal proceedings, and further the goals and purpose of the
6 Yegiazaryan syndicate.” (4 89.)
7 “On information and belief, this letter was sent as a deliberate
8 falsehood and was sent as part of Mr. Yegiazaryan’s scheme to defraud the
9 court, delay the legal proceedings, and further the goals and purpose of the
10 Yegiazaryan syndicate.” ({ 91.)
1] “On information and belief, Ratnikov is colluding with Mr.
j2 Yegiazaryan to try to reduce or nullify his debt and judgments to Plaintiff
13 Smagin.” (4 113.)
14 “On information and belief, Mr. Yegiazaryan put the Ratnikov
15 Notification Letter in Dozortseva’s hands as part of his coordination of the
16 enterprise efforts to thwart Plaintiff Smagin.” (§ 117.)
17 || The complaint must remedy these deficiencies, if leave to amend were granted.
18 D. The claims relating to the alleged receipt of overseas real estate
19 proceeds should be dismissed.
20 a. These claims are barred by the applicable statute of limitations.
21 Plaintiff contends that that he was injured by Egiazaryan’s alleged funneling

22 || almost $17 million, from 2014 real estate sales, into the United States through
23 || various companies held in his cousin Suren Egiazaryan’s name and transfer of $20
24 || million to his Suren in or before 2012, but Plaintiff also learned of these alleged
25 || injuries in or no later than February 2016, more than four years before this action

26 || was filed. ({{] 59-60.) Any claims for these alleged predicate acts are time barred.
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l E. The claims relating to alleged witness tampering should be
dismissed.

a. Plaintiff lacks standing.

To show standing, Plaintiff must show that he sustained injury as a result of

Egiazaryan’s violation of § 1961. See 18 U.S.C. § 1964(c), The complaint,

however, fails to show that Plaintiff was injured by the alleged witness tampering

of a treating physician. (§§ 101-102, 129(o), 133, 142.) The complaint contains

no explanation for how or to any extent Plaintiff was harmed. Egiazaryan was in

 

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contempt of court and subject to daily fines before the alleged event and the
10 || complaint does not allege that anything has changed, or was prevented from
11 || changing, as a result of the alleged witness tampering.

12 b. The complaint fails to adequately plead witness tampering.

13 The complaint states that Plaintiff “believes” that Egiazaryan engaged in
14 || witness tampering in solely conclusory terms, without any facts or detail showing
15 || that the claim is plausible. (4 102.) To state a plausible RICO claim, a complaint
16 || must contain “more than labels and conclusions” or “formulaic recitations of the

17 || elements of a cause of action.” Eclectic Properties. East, 751 F.3d at 995-96.

18 F. Without a viable § 1962(c) claim, the § 1962(d) conspiracy claim
19 also fails.
20 For the reasons set forth above, the first claim for relief fails. As a result,

21 || the second claim for relief based on conspiracy also fails. Simon v. Value
22 || Behavioral Health, Inc., 208 F.3d 1073, 1084 (9th Cir. 2000), amended, 234 F.3d

23 || 428 (9th Cir. 2000), overruled on other grounds by Odom v. Microsoft Corp., 486
24 || F.3d 541 (9th Cir. 2007).

25 || IV. CONCLUSION

26 For the reasons set forth above
27 || Dated: March 29, 2021

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action should be dismissed.

Ashot Egiazaryan

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